 Case: 1:18-cv-02032 Document #: 13 Filed: 08/20/18 Page 1 of 4 PageID #:26




                   IN THE UNITED STATES DISTRICT COURT,
                  FOR THE NORTHERN DISTRICT OF ILLINOIS,
                             EASTERN DIVISION

 JILL MEHRBERG

 Plaintiff,

 v.                                                 Case No. 1:18-cv-02032



 STATE OF ILLINOIS,                                 Honorable Robert M. Dow

 Defendant.



        PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS

        Plaintiff, JILL MEHRBERG (“Ms. Mehrberg”), by and through her undersigned

counsel, states as follows as her Response to the Defendant’s Motion to Dismiss:

        1. The Defendant argues that Plaintiff’s claims must be dismissed because it was

purportedly not the “employer” of Plaintiff; rather, according to the Defendant, the

Department that she worked for, i.e., the Illinois Department of Commerce & Economic

Opportunity (“Department”) was her “employer.”

        2. As an initial matter, Plaintiff has alleged that the State was in fact her

“employer,” and the question of who actually was her “employer” cannot be decided on a

Motion to Dismiss. In fact, in Bloom v. Crook, 78 F.Supp.2d 1, (D. Maine 1999), the

court denied the defendant’s motion to dismiss – citing and declining to follow Hearne

(see discussion below), the very case relied upon by Defendant in support of its present

motion.

        3. Moreover, even if such an inquiry is appropriate at the pleading state and on a
 Case: 1:18-cv-02032 Document #: 13 Filed: 08/20/18 Page 2 of 4 PageID #:27




12(b)(6) Motion, this Court can take judicial notice of the fact that no such legal entity

exists in the form of the Department. According to the Illinois Secretary of State’s

Office’s website (see https://www.cyberdriveillinois.com/), no such independent legal

entity exists that is authorized to conduct business in this State. For that reason, the State

is the appropriate Defendant.

       4. In addition, the first case cited by Defendant in support of its position, Hearne

v. Bd. of Educ. of City of Chicago, 185 F.3d 770 (7th Cir. 1999), does not advance its

position. In that case, the Plaintiffs were clearly employed by the Chicago public school

system, and not the State or one of it Departments or Agencies. Moreover, even so, the

court in Hearne appeared to leave open the prospect of the State of Illinois being sued as

the “employer” Defendant.

       5. The court in Hearne found, “[N]either the Governor’s office, the State of

Illinois as a whole, nor the IELRB is the ‘employer’ for Title VII purposes of any of

these plaintiffs, which is the end of this part of the case against these defendants.” Id. at

185 F.3d 777. In other words, the Hearne court left open the possibility that, based upon

the circumstances presented, either the State or the Governor’s Office (or perhaps both)

could be the “employer.” There would otherwise have been no reason for the Hearne

court to differentiate between the State of Illinois and one of its sub-divisions, the

Governor’s Office.

       6. Further evidence that Defendant has offered a mis-reading of Hearne is

provided by the very quote from Hearne that it has offered in support of the present

Motion: “Title VII actions must be brought against the ‘employer.’ In suits against state

entities, that term is understood to mean the particular agency or part of the state




                                              2
 Case: 1:18-cv-02032 Document #: 13 Filed: 08/20/18 Page 3 of 4 PageID #:28




apparatus that has actual hiring and firing responsibility. See EEOC v. State of Illinois, 69

F.3d 167, 171–72 (finding that local school districts, not the State of Illinois, are the

‘employers’ of public school teachers in Illinois for the purposes of Title VII).” See

Defendant’s Motion at p. 2, paragraph 4 (quoting Hearne at 185 F.3d 777). Thus, the

Hearne court is citing to another case where the plaintiffs were clearly not employees of

the State or any of its agencies or departments; instead, they were employed by local

school districts.

        7. It should also be noted that Defendant has additionally cited Levin v. Madigan,

697 F.Supp.2d [cited as F.Supp.3d] 958 (N.D. Ill. 2010) as support for its “employer”

defendant argument. However, Levin is a non-precedential District Court Memorandum

Opinion that cites to Hearne without any analysis – and which has never itself been cited

to by any other court for Defendant’s “employer” proposition of law.

        8. With respect to that portion of Defendant’s motion that seeks the dismissal of

Plaintiff’s ADA claims, Defendant has offered no decisional law support for its position.

See Motion at p. 2, paragraph 4.

        9. Finally, in the event that this Court finds against Defendant at this stage and

denies its Motion with respect to the “employer” defendant issue, Plaintiff still seeks

leave of this Court to file an Amended Complaint that adds as an additional Defendant,

the Department.

        10. Alternatively, to the extent that this Court holds in favor of Defendant with

respect to the “employer” defendant issue and grants its Motion, Plaintiff seeks leave to

file an Amended Complaint to name the Department as the Defendant.




                                              3
 Case: 1:18-cv-02032 Document #: 13 Filed: 08/20/18 Page 4 of 4 PageID #:29




       WHEREFORE, Plaintiff, Ms. Mehrberg, by and through her undersigned

counsel, respectfully prays for the entry of an Order denying Defendant’s Motion, or, in

the alternative, the relief requested in Paragraphs in 9 or 10 above (as applicable), and

for all such other relief that is just and proper under the circumstances and recoverable.




                                RESPECTFULLY SUBMITTED,

                                By:   s/Michael I. Leonard
                                      Counsel for Plaintiff



LEONARDMEYER, LLP
Michael I. Leonard
Madelaine M. Thomas
120 North LaSalle, 20th Floor
Chicago, Illinois 60602
(312)380-6659 (direct)
(312)264-0671 (fax)


                                CERTIFICATE OF SERVICE

       The undersigned states that, on August 20, 2018, he caused the above document

to be served on counsel of record by way of electronically filing it by way of the ECF

filing system, and by way of e-mail to opposing counsel.


                                RESPECTFULLY SUBMITTED,


                                By:   s/Michael I. Leonard
                                       Counsel for Plaintiff




                                             4
